Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 1of8

EXHIBIT A

 
Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 2 of 8

 

 

 

 

 

 

43/29/18 87:26:21 (925) 659-4192 ~> AT&T/USAA Page HAS
83/28/18 47:24:29 (925) 659-8192 -> AT&T/USAA Page HAS
UISAAOB2718690004485000132 : : : i
=I D Ki t N vt ® i
a Ange . bins y C, Le md | 74. Trial Court of Massachusetts |
Division: ‘. Distri |
G.L.¢, 21 8, 819A (a) Dedham District Court District Court Department
Plaintiff(s) Defendant(s)
BONALD L BROWN USAA FEDERAL BANK

 

 

INSTRUCTIONS: THIS FORM MUST BE COMPLETED AND FILED WITH THE COMPLAINT OR OTHER INITIAL PLEADING IN ALL
DISTRICT COURT CIMIL ACTIONS SEEKING MONEY DAMAGES.

    

A. Documented medical expenses to > dates

 

 

 

1, Total hospital expenses: 3

2. Total doctor expenses: i

3. Total chiropractic expenses: 5

4, Total physical therapy expernsess seuessenmecmiesannsicsensenonessescets | Soca er
5_ 15,000.60

 

 

5. Total other expenses | (Describe}: 15,000.00
PENALTIES FOR VIOLATING FFDCA, MFDCA AND FFCRA
B, SUBTOTAL for lines 1-5 above:
C, Documented lost wages and compensation to date: ..
D. Documented property damages to Gates wspscrstssserccstatnscnsecrscensesserserecsrensre ines
£, Reasonable anticipated future medical and hospital expenses:
F. Reasonably anticipated lost Wagest eseeussesssssene
G. Other documented Items of damage (Describe):

 

 

 

ee oedaedenere neseearsyavacertarpmane

  
   
 

sents

5.
°,
$
$
5.

 

 

For shis form, disragard double or treble damage daims, indicate single damages only.

 

 

TOTAL TORT CLAIMS for fines B-G above:

5 cenbey SS RRR EUs Iie Ee RE OP mane eRensetlaee uz TO THE DEROGATORY CREDIT
"REPORTING OF THE DEFENDANT ALSO PLAINTIFF WAS HUMILIATED AND EMBARRASSED BY THE

NEFENAANTEWROANGEL! I! TREATMENT OF HIN

 

 

 

   

Provide a detailed description of clainn(s): ‘DEFENDNAT VIOLATED THE
COVENANT OF GOOD FAITH AND FAIR DEALING INHERENT IN EVERY
CONTRACTED AND DEFENDANT BREACHED THE CONTRACRT

 

 

For this (form, < double or treble damage claims; indicate single
damages only.

 

 

 

TOTAL CONT RACT CLAIMS:

EY FOR a AR PLAINT)FF): DEFENDANT'S NAME AND ADDRESS & PHONE:
Signature! Nadi USAA FEDERAL BANK

DONALD L BROW ie 9800 FREDERICKSBURG ROAD

\

 

Type Narne:
Address: 95 UNIV AVE 2131 WESTWOOD MA 02090 SAN ANTONIO, TX 78288

Phone: 781 708 9654

B.B.Od:

 

MARCH 15 2018

 

Date:

 

 

 

 

08/06

 

 

 

 
 

Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 3 of 8

83/29/18 87:27:46 (925) 659-4192 > AT&T/USAA

B3/28/18 47:26:81 (925) 659-8192 ~> AT&T/USAA
ULRAACIZ7 18899004408" C0133 . . : ‘ . vO, ’

COMMONWEALTH OF MASSAGHUSETTS

NORFOLK COUNTY Lo

DISTRICT COURT ‘GEVIL ACTION NO: 1854CV00172

DONALD L. BROWN )

. Plaintiff )

Vs. )

. - )

USSA FEDERAL SAVINGS BANK )

Defendants )

COMPLAINT
VENUE.

4. The court has subject matter jurisdiction over this action under the Mass R, of
c.P, whereas this is an action for damages less than $25,000. Additionally, the
Plaintiff is a resident of Westwood, Norfolk County and the Defendants all do
business within Norfolk County in the Commonwealth of Massachusetts.

2. The court has personal jurisdiction aver the bath the Plaintiff and the Defendant
in this action as the Plaintiff lives in Westwood, Norfolk County and the Defendant
requiarly conduct business within Norfolk County and within the Commonwealth ,
of Massachusetts.

3. Venue is proper in this court pursuant to Massachusetts R. of GC. P. because the
action involves claims or events and omissions which occurred in Westwood,
Norfolk County in the Commonwealth Massachusetts.

THE PARTIES

4. The plaintiff, Donald L. Brown (Hereinafter “Brown”) is an individual residing at 95
University Avenue, Apr 2131 Westwood, Norfolk Gounty in the Gommonwealth of
Massachusetts. ‘ ,

5. Defendant, USSA Federal Savings Bank (Hereinafter “USAA”) on information and
_ belief, is National Banking Conglomerate which provides credit to consumers within
Norfolk County in the Commonwealth of Massachusetts, and has an office at 9800
Fredericksburg Road, San Antonio, TX 78288,

Page 446
Page Hb

 

 

 
Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 4 of 8

43/29/18 7:28:34 (925) 659-4192 -> AT&T/USAA Page HA?

B3/ ab/’ 18

 

‘49. Plaintiff camplained several times fo defendant regarding their reporting a

‘94, Defendant has continued to reflect a balance due from the plaintiff, although the

‘25. The evidence suggests that defendant discounted this dispute because it

HY: 26:51 (925) 659-4192 > ~AT&T/USAA Page HH?

 

 

GENERAL FACTS

& Plaintiff opened a credit card account (Last Four 8012) on November 25, 2011.

7. InMarch of 2012 the account number was used without the card to order significant
products from a retailer.

§. The defendant called the plaintiff and asked If he was the one who had used the
eard for those purchases

9, The plaintiff had never used the card at that retailer.

40. The defendant then issued a second account and a new credit card to the plaintiff
(Last four 1420) and cancelled the first account. :

11, The defendant continued to honor charges against the new credit card number. The
fraudwlent charges that were allowed by the defendant were to the very same
retailer.

12, Because of the confusion the defendant issued the plaintiff a third credif account
(Last four 3574), cancelling fhe second account.

13, Plaintiff was wrongfully charged several; over Ilmit charges and late payment
charges due to the canfusion.

44, The Plaintiff did not owe for any late charges or over limit charges due to the
defendant's confusion caused by the defendant.

15.0n May 17, 2015 plaintiff sent a letter certified and first-class mail, to the
defendants (See exhibit a) to notify them of the unfair and deceptive practices
regarding the credit reporting practices of the defendant.

16, Additionally, the defendant assigned the account to three collection agencies,
I¢ Systems, United Recovery Service and CBCS, in spite of the fact that the only
halance was due to the defendant's confusion.

47. The defendant then reported plaintiffs account to the 3 national credit reporting

_ bureaus, |

‘18, The defendant had assigned plaintiffs account, which should have been reflected as
paid in full, fo the collection agoncies.

balance to the credit reporting agencies because it was reported as delinquent
and everdue on his credit report,

20. Defendant, sevoral times, flatly refused to correct plaintiff's credit report in spite
of plaintiffs many complaints and the discrepancy of defendant showing a
balance due and owing from the plaintiff.

plaintiff owes no balance.

22, They defendant reported on the plaintiff's credit report that there was a balance
due and reported the account as derogatory which prevented the plaintiff fram
obtaining credit.

23. Plaintiff, on several occasions, reported to the defendant that the item did not
belong on plaintiff's consumer credit report.

24, There is no, indication that defendant performed an investigation more thorough
than the cursory investigation that Is required by the FRGA

 

 
Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 5of8

3/29/18 47:29:43 (925) 659-8192 > ATRT/USAA Paye GHB
83/28/18 87:28:05 (925) 659-8192 ~ AT&T/USAA Page @48

USAA032718S99004485360135 . . . ~

: bélleved, that. plaintif?'s credit report was corrent: 2
26. Defendant's: ‘investigation. ‘abd response to the- plaintiff, was inconsistent \ with: the - ;
mo requirements, of, 15° U.s.c. § 16815-2(b}(1)." :
27. Thus, defendant Failed to: Fallow Reasonable’ Procedures in ‘Violation of 15. U,6.C.:
i, 1684 eb}, aid. the, jnaccurate inforrintion, was inchitied in the plaintiffs . :
me consinhar’s cradit report « vt . a
128: The naceuracy was due fe | dofandant’s: failure fa foliow reasonable procedures, ta% i
f * assuré maximum possible accuracy. a
Begause: of the: defenitanitis. abpve: cited behaviors: that. “pl airitiff “sulfered: Injury... a

‘ a Jnelusion: ‘OF. the inaccurate entry,

129%

    
  

mem bee

1

COUNT ONE
BROWN V. USAA
BREACH. OF aa eospenauoes were

 

 

  
 

 

dentate ep

(33, The ‘plaintiff fully performed his: duties and ‘yespons bntritt

na AE we nag ntnre Th am TELL etme Ranme B mee

 

EI Me aes or eine so ne detente ee Sate Coenen ee ne te rae

34. The defendant breached, the ‘contract. by engaging, in, the civil wrongs, and ‘tortious Ms
‘behavior reflected j in, the. paragrsiphs 3 above. .

   

 

tk

she eRe tree peee peewee ral eee nee Thee soe rte ae ee eee

WHEREFORE the Plaintiff Donald Brown demands judgment against Defendant in an
amount that will fairly and adequately compensate him for his damages, plus interest
and costs, .
, COUNT TWO
BROWN V, USAA
BREACH OF CONTACT

35. The plaintiff re-alleges and incorporates herein the allegations contained in the
paragraphs ahove
36.Qn or about November 25, 2011, the plaintiff entered inte a contract with the
defendant’s agents, servants and/or employees.

tien Nee ao nee eee mee teens seen pee apent emmy eee nee ent ee

bilities underthe contract. |

  

 

 

 

' 28, The defendant violated the covenant of good faith and fair dealing inherent in every
contract by engaging in the civil wrongs and tortious behavior reflected in the
paragraphs of general facts, above,

 

 

 

 

 
Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 6 of 8

43/29/18 87:30:43 (925) 659-8192 -> ATRT/USAA Page G89
H3/2H/18 H7!29:14 (925) 659-4192 ATRT/USAA Page BS

LSAA032718899004485400136

39.5 a direct and approximate rasult of the defendant's braach of the contract, the
plaintiff has suffered damages. ‘

WHEREFORE the Plaintiff Donald Brown demands judgment against Defendant in an
amount that will fairly and adequately compensate him for his demages, plus interest
and costs.
é
COUNT THREE
BROWN V. USAA
“VIOLATION OF THE FEDERAL FAIR DEBT COLLECTION ACT
(13. $.G.5. sec. 1692)

AG. Plaintiff repeats and re-alleges and incerporates hy reference, each and every
allegation contained above as if expressly re-written and set forth herein.

41.Befendant has continuously dunned the plainthf regarding an alleged overdue
balance anm his credit card account.

43.$uch harassment as committed by defendant's agents, servants or employees,
acting on behalf of the defendant as alleged in the paragraphs above, are in
violation of the Federal Fair Debt Collection Practices Act, 15 U.S.C,5, see 1592,

WHEREFORE, plaintiff demands Judgment against the defendant in an amount that
fatyly and adequately compensates him for his damages.

 

COUNT FOUR |
BROWN V. USAA . |
VIOLATION OF THE MASSACHUSETTS FAIR DEBT COLLECTION ACT

 

_44.Plaintiff repeats and re-alleges and incorporates by reference, each and every
. allegation contained above as if expressly re-written and set forth herein. ,

45.Befendant continucusly dunned the plaintiff regarding an alleged overdue
balance. ,

46. Such harassment as committed by defendant's ages, servants or employees,
acting on behalf of the dofendant as alleged in the paragraphs above, are in
violation of the Massachusetts Fair Debt Collection Practices Act.

WHEREFORE, plaintiff demands judgment against the defendant in an amount that
fairly and adequately compensates him for his damages.

COUNT FIVE
BROWN V..USAA
VIOLATION OF FEDERAL FAIR

 

 

 
Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 7 of 8

43/29/18 9 @7:31:34 (925) 659-4192 -> AT&T/USAA Page H1H

B3/28/18 2:36:88 (925) 659-8192 ~> AT&T/USAA Paye 1H
LBAADTET1969900445650017

CREDIT REPORTING AGT
43. Plaintiff Donald Brown repeats and re-avers the allegations set forth in the
paragraphs above as if expressly rewritten and sot forth herein.

49, Defendant's actions in failing to remove references to the plaintiffs alleged
delinquent account from the three national credit reporting agencies represents a
gross violation of the Federal Fair Credit Reporting Act.

60.Defendank also knew or should have known that the plaintiff had raised his
_ Goncerns that by not removing the alleged debt from the three national credit
reporting agencies would cause great harm to the plaintiff,

WHEREFORE, plaintiff domands judgment against the defendant in an amaunt that
fairly and adequately compensates him for his damages.

COUNT SIX
BROWN V. USAA
VIOLATION OF MASSACHUSETTS
CONSUNER PROTECTION ACT

51, The plaintiff re-alleges and incorporates herein the allegations contained in the
paragraphs above.

52. At all times relevant hereto, Defendant was engaged in trade or commerce
within the meaning of Massachusetts statutes.

53. At all times relevant hereto, Plaintiff was also engaged as a consumer within
the meaning of Massachusetts statutes,

 

54.Aa hoth parties at all times relevant hereto, were engaged in trade or
commerce within the meaning of Massachusetts statutes, this is a consumer
transaction covered under the Massachusetts Consumer Protection Act.

 

i 55,Defendant’s behavior represents unconscionable behavior, behavior which |
shocks the conscience and are considered unfair and deceptive business |
! ; practices, It is settled law in Massachusetts and Nation-wide that unfair and
deceptive business practices bring with it highor levels of punishment.

56, The defendant has willingly and maliciously and continuously behaved in a way
which represents significant violations of the Massachusetts Consumer Protection
statutes which are meant to protect consumers, like the plaintiff, from the
wrongful behaviors complained of above.

57.As a direct and proximate result of the foregoing unfair and deceptive acts and
unfair business practices of the defendant, the plaintiff has suffered damages.

 

 

 
Case 1:18-cv-10727-RGS Document 1-1 Filed 04/16/18 Page 8 of 8

43/29/18 @?:32:29 (925) 659-4192 -> AT&T/USAA Page 411

H3/28/18 =W?:31:8? (925) 659-8192 -> AT&T/USAA Page 411
LSAAGS2718609004420600138 ;

WHEREFORE the Plaintiff Donald Brown demands judgment against Defendant in an
amount that will fairly and adequately compensate him for his damages, plus interest
and costs.

WHEREFORE, the Plaintiff requests that this Court Enter a Judgment for
Plaintiff against the defendant Sunrise in the follawing manner:

(A)That the defendant breached the contract between the parties, and award
the plaintiff he awarded $5000.00 for that breach;

(B) That the defendant breached the contractual covenant af Good Faith and
fair dealing inherent in every contract;

(CG) That the defendant violated the Federal Fair Debt Collection Act and
plaintiff be awarded $5000.00 for those violations;

(DB) That the defendant violated the Massachusetts Fair Debt Collection Act
and plaintiff be awarded $5000.00 for those violations;

{E)That the defendant violated the Federai Fair Credit Reporting Act and
plaintiff be awarded $5000.00 for those violations. _

{F)That the plaintiff be awarded triple damages pursuant to Chapter 93A, the
Massachusetts Consumer Protection Act.

(G)That this Court grant such other relief as it deems appropriate given the

circumstances
sa, |
PLAINTIFF HEREBY REQU q
,  ASURKT yh
Saw a
ON

Pro Se
95 University Ave, Apt 2131
Westwood, MA 02080

781 708 9654
donaldioringbrown@gmail.com .

 

     
 

 

March 14, 2018

 

 

 

 
